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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

KIP EDWARDS, JADRIAN MITCHELL,                     §
CURTIS HENDERSON, MICHELLE A.                      §
BRAILEY, WINTHROP BROWN, CHASE                     §       Civil Action No. 3:11-cv-240
W. ERICSSON, WILLIE H. GARNER, IV,                 §
CHRISTOPHER GREEN, TERENCE K.                      §
GREENE, TRENTON J. HARRIS, CORTNI                  §
D. HILL, NATHAN MARTINEZ,                          §      COLLECTIVE ACTION (JURY TRIAL)
LANDRESS POUNCY, KATHERINE J.                      §
SHERROW, MARK SLIEPCEVIC,                          §
KENDRICK C. WHITE, LACY E. VINSON,                 §
and JEFFREY L. SPILLERS, on behalf of              §
themselves and all others similarly situated,      §
                                                   §
               Plaintiffs,                         §
                                                   §
v.                                                 §
                                                   §
KB HOME,                                           §
                                                   §
               Defendant.                          §

                      PLAINTIFFS’ FIRST AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Plaintiffs Kip Edwards, Jadrian Mitchell, Curtis Henderson, Michelle A. Brailey,

Winthrop Brown, Chase W. Ericsson, Willie H. Garner, IV, Christopher Green, Terence K.

Greene, Trenton J. Harris, Cortni D. Hill, Nathan Martinez, Landress Pouncy, Katherine J.

Sherrow, Mark Sliepcevic, Kendrick C. White, Lacy E. Vinson, and Jeffrey L. Spillers, on behalf

of themselves and all others similarly situated (collectively, “Plaintiffs”) file this First Amended

Complaint and in support thereof would show as follows:




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                                         I. INTRODUCTION

       1.1     Plaintiffs and all others similarly situated who have worked for Defendant,

including its affiliates and subsidiaries, as salespersons in the three years preceding the filing of

this lawsuit, bring this collective action to recover overtime compensation, minimum wages and

other wages, liquidated damages, attorney’s fees, litigation expenses, costs of court, pre-

judgment and post-judgment interest and injunctive relief under the provisions of the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA”).

       1.2     The collective action consists of current and former salespersons who worked for

Defendant who in the three years preceding the filing of this suit were misclassified as exempt

and were not paid minimum wages and/or overtime compensation at time and one half for hours

they worked over 40 in a week in violation of the FLSA. The collective action includes, without

limitation, any individual with the job title of sales counselor, sales associate, sales representative

or with any similar title who performed similar duties of the named Plaintiffs and was paid as a

commissioned, exempt employee (referred to herein as a “salesperson”).

       1.3     Plaintiffs and all others similarly situated demand a jury trial.

                                           II. PARTIES

A.     PLAINTIFFS

       2.1     At all relevant times, Plaintiffs were employed by Defendant within the meaning

of the FLSA as a salesperson. The Notice of Consent for each of the following persons was

previously filed in this matter: Kip Edwards, Jadrian Mitchell, Curtis Henderson, Michelle A.

Brailey, Winthrop Brown, Chase W. Ericsson, Willie H. Garner, IV, Christopher Green, Terence

K. Greene, Trenton J. Harris, Cortni D. Hill, Nathan Martinez, Landress Pouncy, Katherine J.




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Sherrow, Mark Sliepcevic, Kendrick C. White, Lacy E. Vinson, and Jeffrey L. Spillers.

Collective Action Members

       2.2     The collective action members are those current and former salespersons similarly

situated to the named Plaintiffs as set forth above.

B.     DEFENDANT

       2.3     Defendant has already entered an appearance herein.

       2.4     Defendant is engaged in interstate commerce with an annual volume of sales of not

less than $500,000.

       2.5     At all relevant times to this action, Defendant was the employer of Plaintiffs

within the meaning of 29 U.S.C. § 203(d) and constitutes an “enterprise” engaged in commerce

as defined in 29 U.S.C. §§ 203(r), 203(s).

                               III. JURISDICTION AND VENUE

       3.1     Jurisdiction of this action is conferred on this Court by 29 U.S.C. § 216(b) and by

the provisions of 28 U.S.C. § 1337 relating to “any civil action or proceeding arising under any

act of Congress regulating commerce.”

       3.2     Venue is proper in the Southern District of Texas, Galveston Division pursuant to

28 U.S.C. §§ 1391(a)(2) and 1391(b), because among other reasons, Defendant is a resident of

and is doing business in this District; some of the Plaintiffs worked for Defendant in Galveston

County, Texas; and a substantial part of the events giving rise to the claim occurred in Galveston

County, Texas.

                                IV. FACTUAL BACKGROUND

       4.1     KB Home is one of the nation’s largest homebuilders. KB Home operates a

homebuilding, development and financial services business serving homebuyers in markets

nationwide.
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       4.2     In 2010, KB Home generated total revenues of $1.59 billion from homebuilding

operations and mortgage banking services to KB Home’s buyers. KB Home is also a developer

of new home communities in which it builds new homes.

       4.3     In the past 3 years, Defendant has employed thousands of individuals throughout

the country as salespersons.

       4.4     Plaintiffs were all employed by Defendant. Plaintiffs worked performing inside

sales in Defendant’s office. Plaintiffs were paid by Defendant. Plaintiffs’ paychecks were

issued by Defendant with Defendant as the payor. Plaintiffs’ federal W-2 wage and earning

statements were issued by Defendant. Moreover, Defendant filed such W-2 statements with the

federal government. Defendant identified itself as the “employer” of Plaintiffs on such W-2

statements which Defendant prepared and filed with the federal government.

       4.5     Plaintiffs performed inside sales work and were not paid time and one-half their

regular rate of pay for hours they worked over 40 in a work week (“overtime compensation”)

and/or minimum wages.

       4.6     Plaintiffs worked from a model home sales office provided by Defendant.

Plaintiffs’ office included a desk, an executive chair, at least two chairs for customers on the

other side of the desk, a computer with internet access and email, a telephone, a fax machine, file

cabinets, and all other accoutrements of a typical business office.

       4.7     Plaintiffs were required to work over 40 hours in a work week while employed by

Defendant.    Defendant’s sales offices are open at least 9 hours each day 7 days per week.

Plaintiffs were required to work 5 to 7 days each week. Plaintiffs were required to arrive 15-30

minutes prior to start of opening the sales office opening to the public in order to prepare the

office for business and admission of the general public. Plaintiffs very rarely took a lunch break,



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and typically worked through lunch almost every business day. Plaintiffs were also required to

stay late and to close the sales office at the end of each day after the last customer had left the

office.

          4.8    Plaintiffs are inside salespersons who sold newly constructed homes and

mortgages to Defendant’s customers making such sales while working in Defendant’s sales

office.

          4.9    Defendant builds new homes and provides mortgages to the buyers of its new

homes. Plaintiffs sold both Defendant’s new homes and mortgage products to buyers from the

sales office.

          4.10   When potential buyers came to Defendant’s model home sales office, Plaintiffs

determined the buyer’s home needs in order to match the buyer with a KB home; obtained a

mortgage loan application from the buyer; ran a credit check on the buyer; obtained the buyer’s

credit score; collected income and debt information from the buyer; and calculated the buyer’s

debt to equity ratio.

          4.11   Plaintiffs were required and trained by Defendant to sell to the buyer the

maximum amount of home and accompanying mortgage for which the buyer would qualify

under applicable federal guidelines. Plaintiffs used the SIMS prequalification system provided

by Defendant in order to sell a mortgage to buyers.          Plaintiffs counseled buyers on the

qualifications for an FHA loan and the guidelines required by the federal government for such

loans. Plaintiffs also provided buyers with a mortgage loan Good Faith Estimate.

          4.12   Plaintiffs were further required to provide the buyer with Defendant’s incentive

information in order to sell Defendant’s mortgage to the buyer. For example, Defendant offered

various mortgage incentive plans such as paying the buyer’s title insurance and closing costs,



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and lowering the requirements for earnest money for those new home buyers who also purchased

Defendant’s mortgage.

       4.13    Plaintiffs were also required to obtain a copy of various documents from the

buyer in order to sell Defendant’s mortgage product to the buyer, including a copy of the buyer’s

social security card, recent pay check, W-2 statements, tax returns, bank statements, credit card

statements, loan statements and other income and debt documentation. After completing these

tasks, Plaintiffs were required to continue to work with Defendant’s mortgage loan officers and

loan processors in completing the loan until the close of the mortgage loan. These activities

were all conducted by Plaintiffs while working in Defendant’s sales office, either in person or by

telephone, facsimile and/or email.

       4.14    Plaintiffs were paid on a commission only basis for sales of new homes. Initially,

Plaintiffs were paid on a flat fee basis for sales of mortgages, which ranged from $50 to $400 per

mortgage sold. In the last two years, Plaintiffs received no compensation for the mortgages that

they sold.

       4.15    Plaintiffs were also required to participate in “call-a-thons,” which involved

performing “cold calls” by telephone for two or more hours at night to prospective buyers from

Defendant’s office. Plaintiffs were required to work at “call-a-thons” on a weekly basis, and

sometimes more frequently if the sales goals had not been met.            Plaintiffs received no

compensation for working at “call-a-thons.”

       4.16    Plaintiffs were also required to attend training seminars and meetings at

Defendant’s office. Plaintiffs were not compensated for the hours spent performing such work.

       4.17    Plaintiffs were also required to act as customer service representatives and

warranty representatives. Plaintiffs were required to perform warranty reviews, as well as



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customer satisfaction surveys and follow-up with respect to buyers of new homes that had been

sold by a different salesperson. Plaintiffs were further required to respond to all warranty and

customer complaints of Defendant’s new home buyers with respect to homes sold by various

salespersons. Plaintiffs were required to perform these customer service and warranty functions

on a daily basis.    Plaintiffs received no compensation for performing customer service or

warranty service work.

        4.18   Defendant’s policy and/or practice was to not pay Plaintiffs overtime

compensation for hours worked over 40 in a week as required by the FLSA and/or minimum

wages. Plaintiffs were only paid a commission on new homes that they sold.

        4.19   Plaintiffs are non-exempt current and/or former employees of Defendant that were

misclassified as exempt.

        4.20   Plaintiffs at times worked for Defendant without receiving any wages in some pay

periods. For example, if Plaintiffs failed to sell a new home during a pay period, he/she received

no wages for the pay period.

        4.21   Plaintiffs were not paid a salary or hourly rate for work performed as a

salesperson.

        4.22   Plaintiffs were never paid overtime compensation.

        4.23   Defendant’s business operations, and the wages and compensation of Plaintiffs

and all others similarly situated are substantially similar, if not identical, at all of Defendant’s

locations throughout the country.

        4.24   Defendant knowingly failed to pay overtime to Plaintiffs in violation of the

FLSA.




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        4.25    Defendant has been previously sued multiple times by other employees for failing

to pay overtime compensation. Defendant has also been previously sued multiple times by other

employees for misclassifying its employees under the FLSA.

        4.26    Since this lawsuit was originally filed, Defendant has changed the job duties and

responsibilities of its salespersons.

        4.27    Defendant is aware that its policy and practice of requiring its salespersons to sell

both its new homes and its mortgages violated federal law.

        4.28    Defendant is further aware that it required Plaintiffs to perform work for which

they received no compensation, and certainly no overtime compensation.

        4.29    Defendant’s conduct has been willful and in bad faith. Plaintiffs are entitled to

liquidated damages for such conduct.

        4.30    Defendant’s practice is to be deliberately indifferent to violations of overtime

and/or minimum wage requirements.

                          V. COLLECTIVE ACTION ALLEGATIONS

        5.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

        5.2     Other employees have been victimized by this pattern, practice, and policy of the

Defendant that is in violation of the FLSA. Plaintiffs are aware that the illegal practices and

policies of Defendant have been imposed on other workers.

        5.3     Plaintiffs and all others similarly situated shared common job duties and

responsibilities as salespersons. Thus, Plaintiffs’ experiences are typical of the experience of

Defendant’s other salespersons.




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       5.4     Plaintiffs file this case as an “opt-in” collective action as specifically allowed by

29 U.S.C. §216(b).

       5.5     Plaintiffs bring these claims on their behalf and on behalf of all others similarly

situated salespersons who have not been fully compensated for all work performed, time spent,

and activities conducted for the benefit of Defendant.

       5.6     Plaintiffs and those similarly situated frequently performed work for which they

were not compensated. Plaintiffs and those similarly situated were not paid minimum wages

and/or overtime compensation.

       5.7     Plaintiffs request that Defendant fully identify all others similarly situated in order

that proper notice of their right to consent to participation in this collective action may be

distributed, including immediately providing the name, last known address, telephone number

dates of employment, and job title(s) of all those similarly situated so that notice may be sent to

those persons immediately.

       5.8     Plaintiffs seek to represent those similarly situated who have provided consent in

writing to join this action as required by 29 U.S.C. § 216(b).

       5.9     Those individuals who choose to opt in will be listed on subsequent pleadings and

copies of the written consents to sue will be incorporated herein by reference.

       5.10    Plaintiffs will fairly and adequately represent and protect the interests of those

who are similarly situated.

                          VI. COUNT 1—VIOLATIONS OF THE FLSA

       6.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.




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       6.2     Plaintiffs and all others similarly situated are lawfully non-exempt employees and

were improperly classified as exempt employees.

       6.3     Defendant has violated the FLSA by failing to pay Plaintiffs and all other

similarly situated salespersons minimum wages and/or overtime compensation at a rate of one

and one half their regular rate of pay for all hours worked in excess of 40 hours per week.

       6.4     Defendant has not made a good faith effort to comply with the FLSA.

       6.5     Defendant’s conduct was willful within the meaning of 29 U.S.C. § 255(a).

       6.6     In further violation of the FLSA, Defendant has failed to maintain accurate

employee pay records, including the number of hours worked per work week, by Plaintiffs and

by all other similarly situated employees.

       6.7     Defendant deliberately misclassified Plaintiffs and all others similarly situated as

exempt employees to avoid paying them overtime compensation and minimum wages.

       6.8     No exemption excused the Defendant from paying Plaintiffs and all others

similarly situated minimum wages and/or overtime compensation.

       6.9     Defendant knowingly, willfully, or with reckless disregard carried out its illegal

pattern or practice regarding overtime compensation owed to Plaintiffs and to all other similarly

situated employees.

                                     VII. JURY DEMAND

       7.1     Plaintiffs hereby demand a trial by jury.

                                              PRAYER

       WHEREFORE Plaintiffs and all those similarly situated to them who have or will opt

into this action, respectfully pray that this Court follow the certification procedures of § 216 of

the Fair Labors Standards Act and conditionally certify a collective action as described herein



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pending the identification of and receipt of consent from others similarly situated, and that

subsequent thereto Plaintiffs and all others who opt-in to this action recover the following:

       a.      an order preliminarily and permanently restraining and enjoining Defendant from
               engaging in the aforementioned pay violations;

       b.      damages and restitution for all unpaid wages (including fringe benefits and
               bonuses), unpaid overtime compensation (at time and one-half), and unpaid
               minimum wages and other injuries, as provided by the FLSA;

       c.      liquidated damages, as provided by the FLSA, equal to the sum of the amount of
               wages and overtime compensation that were not properly paid;

       d.      all applicable penalties for the violations set forth herein;

       e.      an award of reasonable attorney’s fees, expenses, expert fees and costs incurred in
               vindicating the rights of Plaintiffs and all those similarly situated;

       f.      an award of pre-judgment and post-judgment interest at the highest rate permitted by
               law; and

       g.      such other and further relief, at law or in equity, as this Court deems just and
               appropriate.




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DATED: July 8, 2011


                                   Respectfully submitted,

                                   By: /s/ Rhonda H. Wills
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2011, I electronically filed the foregoing document with
the clerk of the court for the Southern District of Texas using the electronic case filing system of
the court. The electronic case filing system sent a “Notice of Electronic Filing” to the following
attorneys of record who have consented to accept this Notice as service of this document by
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